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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
ERIC ALI,

                          Plaintiff,
                                                                           16-cv-01994 (ALC)
                          -against-
                                                                           NOTICE OF MOTION
LAWRENCE K. MARKS, CHIEF OF PUBLIC SAFETY,                                 TO DISMISS THE
NEW YORK STATE’S OFFICE OF COURT                                           AMENDED COMPLAINT
ADMINISTRATION, COURT OFFICER T. ELEAZAR
RAMOS SHIELD NO. 7217. and COURT OFFICER
JOHN DOE 1

                           Defendants.
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          PLEASE TAKE NOTICE THAT, upon plaintiff Eric Ali’s amended complaint,

dated June 28, 2016; the accompanying Memorandum of Law, dated February 28, 2017, together

with the Declaration of Michael Siudzinski, dated February 28, 2017, in support of the State

Defendants’ motion to dismiss the amended complaint; and all other papers and proceedings

herein, Defendants Lawrence K. Marks and Court Officer T. Eleazar Ramos, by their attorney,

ERIC T. SCHNEIDERMAN, Attorney General of the State of New York, will bring this

motion for hearing before the Honorable Andrew L. Carter, Jr., at the Thurgood Marshall United

States Courthouse, Southern District of New York, 40 Foley Square, Courtroom 1306, New

York, NY 10007, at a date and time to be determined by the Court, for an order dismissing all

claims in the amended complaint, with prejudice, pursuant to Rules 12(b)(1) and 12(b)(6) of the

Federal Rules of Civil Procedure, and granting any other relief the Court may deem just and

proper.




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Dated: New York, New York
       February 28, 2017

                                  ERIC T. SCHNEIDERMAN
                                  Attorney General of the State of New York
                                  Attorneys for the Honorable Lawrence K. Marks
                                  and Court Officer T. Eleazar Ramos
                                  By:

                                  __     /S/
                                  Michael Siudzinski
                                  Jonathan Conley
                                  Assistant Attorneys General
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